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Exhibit H
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and Watch Tower Bible and Tract Society ofPennsylvania
                IN THE UNITED ST A TES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION

TRACY CAEKAERT, and CAMILLIA ~ Cause No. CV 20-52-BLG-SPW
MAPLEY,                      )
                             ) DEFENDANT WATCH TOWER
          Plaintiffs,        ) BIBLE AND TRACT SOCIETY OF
                             )
                             )
                               PENNSYLVANIA'S RESPONSES
      vs.                    ) TO PLAINTIFFS' SECOND SET OF
                             ) JURISDICTIONAL DISCOVERY
                             )
WATCHTOWER BIBLE AND         )
TRACT SOCIETY OF NEW YORK, )
INC., WATCH TOWER BIBLE AND )
                             )
TRACT SOCIETY OF             )
PENNSYLVANIA, and BRUCE      )
MAPLEY SR.,                  )
                                                )
                                                )
            Defendants.                         )
                                                )
                                                )
                                                )
                                                )
                                                )
            Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                        Plaintiffs' Second Set of Jurisdictional Discovery - I
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WATCHTOWER BIBLE AND                             )
                                                 )
TRACT SOCIETY OF NEW YORK,                       )
INC.                                             )
                                                 )
                                                 )
               Cross-Claimant,                   )
                                                 )
vs.                                              )
                                                 )
                                                 )
BRUCE MAPLEY SR.,                                )
                                                 )
               Cross-Claim Defendant. ~
            )
            )
-----------)
ARIANE ROWLAND, and JAMIE                        ) Cause No. CV 20-59-BLG-SPW
SCHULZE,                                         )
                                                 ) DEFENDANT WATCH TOWER
             Plaintiffs,                         ~ BIBLE AND TRACT SOCIETY OF
                                                 ) PENNSYLVANIA'S RESPONSES
vs.                                              ~ TO PLAINTIFFS' SECOND SET OF
                                                 ) JURISDICTIONAL DISCOVERY
WATCHTOWER BIBLE AND                            )
                                                )
TRACT SOCIETY OF NEW YORK,                      )
INC., WATCH TOWER BIBLE AND                     )
TRACT SOCIETY OF                                )
                                                )
PENNSYLVANIA, and BRUCE                         )
MAPLEY SR.,                                     )
                                                )
                                                )
             Defendants.


TO:   Plaintiffs and their counsel, Robert L. Stepans, Ryan R. Shaffer, and James C.
      Mumion, MEYER SHAFFER & STEPANS PLLP, 430 Ryman Street,
      Missoula, MT 59802

      COMES NOW Defendant Watch Tower Bible and Tract Society of

Pennsylvania (hereinafter "WTP A"), by and through its attorneys, and responds to

Plaintiffs' Second Set of Jurisdictional Discovery to Defendant WTPA as follows:
            Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                        Plaintiffs' Second Set of Jurisdictional Discovery - 2
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                                  GENERAL OBJECTIONS

I.       First General Obiection: By Providing the Following Answers and
         Responses, WTPA Does Not Waive its Claim it is Not Subject to Personal
         Jurisdiction in Montana.

         The following Answers and Responses are supplied to Plaintiffs in accordance

with: (1) the Court's Orders Providing for Jurisdictional Discovery (Doc. 32 in the

Caekaert matter 1; Doc. 24 in the Rowland matter2); (2) the Joint Jurisdictional

Discovery Plan (Doc. 36 in the Caekaert matter; Doc. 28 in the Rowland matter);

(3) the Jurisdictional Discovery Orders issued by the Court (Doc. 42 in the Caekaert

matter; Doc. 34 in the Rowland matter); and (4) the Court's Orders Re Scope of

Jurisdictional Discovery (Doc. 47 in the Caekaert matter; Doc. 37 in the Rowland

matter). Nothing herein is intended to waive, explicitly or implicitly, WTPA's claim

it is not subject to personal jurisdiction in Montana. See Docs. 13, 14, and 25 in the

Caekaert matter; and Docs. 9, I 0, and 18 in the Rowland matter (all explaining

WTPA's position regarding personal jurisdiction). Should a waiver argument be

made, WTP A disputes the same and affirmatively avers any such argument is

directly contradictory to WTP A's position on personal jurisdiction. Accordingly, if

made, any waiver argument should be wholly rejected.

II




1
    References to the Caekaert matter means Cause No. CV 20-52-BLG-SPW
2
    References to the Rowland matter means Cause No. CV 20-59-BLG-SPW.
               Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                           Plaintiffs' Second Set of Jurisdictional Discovery - 3
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II.    Second General Obiection: Requests Seeking Information Beyond the
       Scope of Jurisdictional Discovery are Improper. Any Responses do not
       Waive WTPA's Claim it is not Subject to Personal Jurisdiction in
       Montana.

       The Court has only allowed jurisdictional, not general, discovery to take

place. See (Doc. 32 in the Caekaert matter; Doc. 24 in the Rowland matter). Thus,

any discovery requests from Plaintiffs seeking information that goes beyond

jurisdictional discovery are improper and are not permitted at this time. Again, as

discussed above, any Answers or Responses herein are not intended as a waiver of

WTPA's claim it is not subject to personal jurisdiction in Montana. As a corollary,

any argument that any Answers or Responses herein answer or respond to matters

outside the scope of jurisdictional discovery shall not be deemed an explicit or

implicit waiver of WTPA 's claim it is not subject to personal jurisdiction, nor shall

any Answers or Responses herein be deemed a waiver of the scope of discovery

allowed by the Court at this time.

III.   Third General Obiection: Requests Seeking Information Beyond the
       Scope of the Court-Ordered Limitations are Improper.

       In the Comt's Orders Re Scope of Jurisdictional Discovery (Doc. 47 in the

Caekaert matter; Doc. 37 in the Rowland matter), the Court concluded "[d]iscovery

regarding WTP A's corporate relationship with WTNY from 1973 to 1992

is ... appropriate." See Doc. 47 (in the Caekaert matter), p. 5; Doc. 37 (in the

Rowland matter), p. 5. Accordingly, any discovery requests seeking information

            Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                        Plaintiffs' Second Set of Jurisdictional Discovery - 4
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before 1973 or after 1992 are improper and outside the scope of Court-ordered

limitations on jurisdictional discovery.

                                  INTERROGATORIE S

      INTERROGATORY NO. 20: Please identify all directors ofWTPA from

1970 to 1995, including the dates each individual served as a director.

      ANSWER: Objection. Please refer to WTPA's Third General Objection,

above, for an explanation as to why the time period requested in this Interrogatory

is improper. Subject to and without waiving this objection, WTPA provides the

following names of individuals (all of whom are now deceased):


1973 N. H. Knorr             President and Director
      F. W. Franz            Vice President and Director
      G. Suiter              Secretary and Treasurer
      J. 0. Groh             Assistant Secretary-Treasurer and Director
      M. G. Henschel         Director
      W. K. Jackson          Director
      L. A. Swingle          Director

1974 N.H.K.norr              President and Director
      F. W. Franz            Vice President and Director
      G. Suiter              Secretary and Treasurer and Director
      J. 0. Groh             Assistant Secretary- Treasurer and Director
      M. G. Henschel         Director
      W. K. Jackson          Director
      L. A. Swingle          Director

1975 N.H.Knorr               President and Director
      F. W. Franz            Vice President and Director
      G. Suiter              Secretary and Treasurer and Director
      W. K. Jackson          Assistant Secretary-Treasurer and Director
      M. G. Henschel         Director
            Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                        Plaintiffs' Second Set of Jurisdictional Discovery - 5
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          ANSWER: Objection. Please refer to WTPA's Third General Objection,

above, for an explanation as to why the time period requested in this Interrogatory

is improper. Subject to and without waiving this objection: None

          INTERROGATORY NO. 25: Please describe the relationship between the

Governing Body, WTPA and WTNY for each year during the period 1970-1995 as

it pertains to directing the affairs of Jehovah's Witness congregations in the United

States.

          ANSWER: Objection. Please refer to WTPA's Third General Objection,

above, for an explanation as to why the time period requested in this Interrogatory

is improper. Subject to and without waiving this objection: The Watch Tower

Bible and Tract Society of Pennsylvania is a nonprofit corporation formed in 1884

under the laws of the Commonwealth of Pennsylvania, U.S.A. It is used by

Jehovah's Witnesses to supp011 their worldwide work, which includes publishing

Bibles and Bible-based literature. Besides the Watch Tower Bible and Tract

Society of Pennsylvania, Jehovah's Witnesses have other legal entities that

perform various legal tasks associated with fulfilling Jesus' commission recorded

at Matthew 28: 19, 20. One such legal entity is Watchtower Bible and Tract

Society of New York, Inc. (hereinafter "WTNY"), which prints Bibles and Bible-

based literature that is used by Jehovah's Witnesses. Some of that literature is used

in connection with the ministry clone by Jehovah's Witnesses, again in connection

               Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                          Plaintiffs' Second Set of Jurisdictional Discovery - 14
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with Jesus' commission in Matthew 28: 19-20. Congregations form for the purpose

of allowing Jehovah's Witnesses and others interested in attending their meetings

to gather together to worship God. At their own choice, congregations may form

corporations or trusteeships to own property used as Kingdom Halls (meeting

places). Those that do not form a corporation or trusteeship typically remain

unincorporated associations. Each legal entity is separate and distinct from one

another. The Governing Body of Jehovah's Witnesses is an ecclesiastical group of

men who care for the spiritual interests of Jehovah's Witnesses. It has no legal or

corporate control over any entity used by Jehovah's Witnesses.

      INTERROGATORY NO. 26: Please describe the relationship between the

Governing Body, WTP A and WTNY for each year during the period 1970-1995 as

it pertains to responding to reports of child sex abuse by members of the

congregations of Jehovah's witnesses in the United States.

      ANSWER: Objection. Under Rule 33(a)(l), Fed.R.Civ.P., "[u]nless

otherwise stipulated or ordered by the court, a party serve on any other party no

more than 25 written interrogatories, including all discrete subparts." See

Fed.R.Civ.P. 33(a)(l) (emphasis added). Here, there is no order from the Court,

nor is there a stipulation, allowing Plaintiffs to propound more than the specified

25 interrogatory limit. Thus, under the plain language of Rule 33(a)(l ),

Fed.R.Civ.P., WTPA is not required to provide an Answer to this Interrogatory.

             Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                        Plaintiffs' Second Set of Jurisdictional Discovery - 15
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Doing so could constitute a waiver of the objection based on Rule 33(a)(l),

Fed.R.Civ.P., and pursuant to Local Rule 26.3(a)(4). WTPA has no intention of

waiving the 25 interrogatory limit.

      WTPA further objects to the time period requested. Please refer to WTPA's

Third General Objection, above, for an explanation as to why the time period

requested in this Interrogatory is improper.

      INTERROGATORY NO. 27: Please identify all years between 1970 and

1995 during which WTNY was a subsidiary of WTPA.

      ANSWER: Objection. Under Rule 33(a)(l), Fed.R.Civ.P., "[u]nless

otherwise stipulated or ordered by the court, a patty serve on any other party no

more than 25 written interrogatories. including all discrete subparts." See

Fed.R.Civ.P. 33(a)( I) ( emphasis added). Here, there is no order from the Court,

nor is there a stipulation, allowing Plaintiffs to propound more than the specified

25 interrogatory limit. Thus, under the plain language of Rule 33(a)(l),

Fed.R.Civ.P., WTPA is not required to provide an Answer to this Interrogatory.

Doing so could constitute a waiver of the objection based on Rule 33(a)(l),

Fed.R.Civ.P., and pursuant to Local Rule 26.3(a)(4). WTPA has no intention of

waiving the 25 interrogatory limit.




            Defendant Watch Tower Bible and Tract Society of Pennsylvania's Responses to
                       Plaintiffs' Second Set of Jurisdictional Discovery - 16
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DATED this

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              2. '/ ~,- or December, 2020.
                                        By:.....,~~ - - - -~___;___
                                                                 ~- - - -- - --
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                                                 Aaron M. Dunn
                                                 BROWN LAW FIRM, P.C.
                                                 Attorneys for Defendants Watchtower
                                                 Bible and Tract Society ofNew York,
                                                 Inc., and Watch Tower Bible and
                                                 Tract Society ofPennsylvania




     Defendant Watch IO\\ er Bihie an d Tract Society of Pennsylvania's Responses to
                Plaintifk Second Set of Jurisdictional Discovery - 28
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